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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 0:21-CR-60256-PCH/JB


  UNITED STATES OF AMERICA

  v.

  PHILIP LICHTENFELD,

        Defendant.
  _____________________________________/

           ORDER ADOPTING AND AFFIRMING R&R ON CHANGE OF PLEA

         THIS MATTER comes before the Court upon Magistrate Judge Jacqueline Becerra’s

  Report and Recommendation on Change of Plea (the “R&R”), which she entered on Wednesday,

  September 29, 2021. [ECF No. 67]. In the R&R, Judge Becerra found that Defendant Philip

  Lichtenfeld freely and voluntarily entered a plea of guilty as to the sole count in the Information,

  which charges Defendant with Conspiracy to Commit an Offense Against the United States in

  violation of Title 18, United States Code, Section 371.

         Magistrate Judge Becerra recommends that this Court accept Defendant’s guilty plea,

  adjudicate Defendant guilty of the sole charge in the Information, and subsequently conduct a

  sentencing hearing for final disposition of this matter. The Court has reviewed Judge Becerra’s

  R&R and has been advised that the parties do not object to its recommendations. [ECF Nos. 72,

  74]. Therefore, based on a de novo review of the evidence presented, it is hereby

         ORDERED AND ADJUDGED that (1) Magistrate Judge Becerra’s Report and

  Recommendation on Change of Plea is ADOPTED and AFFIRMED in its entirety; (2) the Court

  accepts Defendant’s plea of guilty and Defendant is hereby adjudged guilty as to the sole charge
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  of the Indictment; and (3) a sentencing hearing before the Honorable Paul C. Huck is set for

  Monday, December 13, 2021 at 2:00 PM.

         DONE AND ORDERED in Chambers in Miami, Florida on Monday, October 4, 2021.




                                                   PAUL C. HUCK
                                                   UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Jacqueline Becerra
  Counsel of record
